Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 1 of 22 Page ID #:1434




           T7 Z~~~D J_ VA?~ I~.'~~'Lh'~1AAA`T foal. ~arltic~. 1?5?~1)
           f~r~aif- ~r3~7h~~~i-r7~aatd ~i~~cc,~~t~~°
                                                                                                               ~,,,,
           I mail: br~1', ~~aa; <~ ~~~ ~-.>~~                                                     >3       r             ~
                                                                                                  "
                                                                                                  '~                     !S,
                                                                                                  ~~                     ~
          ~t~orn~vs forPlai,~ti~~l~                                                                    r
                                                                                                       P"'.,                      }
          ~Sec~ir~ities and l~:xcl~an~~ C`,~r~amissic~x~                                               ~<<`
                                                                                                        .,:, ~ ra
                                                                                                               ~
                                                                                                                  lJ ~

                                                                                                                                 r
                                                                                                                                 C41
      5.l~seph Ci. Sa~1s~~~~c, ( ~~~it C~Jii~~i~{~Tarkel Ab~ise I?~Ziij                                   ~,
       ~~ti~ York Re~ic~l~,al Otl~~c~                                                                    ~ :~~.~:                D
      6'  ~~°~~ V~esey Street_ ~~~tIz lf~t~                                                            '~. --~ _`          ~C
       ~~~:ti~l ~c~ric_ N~v~ ~~t~rl~ IF~2~]
                                                                                                                ~          cT~
                                                                                                               :
                                                                                                               '           tV
          R~~r~ert A. Cohen, ttn~t Chief ~Cy~L~er Unitj
          Heac~c7u~~rter s
          1 ~~ F Strut, N.F.,.
      9   W~shin~ta~~. District of Cc~l~~rn~~ia ~05-~~
 1G       Michela ~~+'~ir 1 ~~tinc. R~~i~>>z~~~ Dirccic~,
          ~~1T~V .~~lll~ I_i~ll`.ri1. (te~'JC~Si~ti ~CIu~ ~ ~~~ilZl~„1
 11
          Leis An~~~~i~~ t ~il_ii~>rr~la ~UfJ~I
 12
          ~acstinile~ (~1 ~~ ~4~-19174
 13
 14                                      L'~ITED S~I~~TES DISTRICT C:Ot1RT

 15                                    C"EN°TCtAL DISTRICT C?I~ CAL1F~"1RNlA

 16                                                  WE~`fiER?V DIVISION

 17
          SF_,CG'RI"TrFSA:~I7 ~~XC~I~I~~G~~
 18       CC~M~IISSIC~'~'.
                                                                         CO`SEN"I'C7F DFF~~'I)~~~T~
 ~9                         i'i~~int~ l~f-                               `TIT~'~'Iti~1 BLQCkCH.AII
                                                                          INFR,~STRIaCT[TFtE SI+:RVICES,
20                 vs.                                                   INC., EHT 1NTER~rET~'ORI~ ~'~~D
21                                                                       S~'STE?~~S M~tiAGFN1E~T,I~'C,
~~        TIT~.I~' i t'\~1 1~1,OCKC~~AIN                                 A~L'D MICI-~A~L ~iL~N ~T(3L~~FR~'
          T'~IFR,~STRliCTl1Ri; S~~Z~'lC~ ~-                              aka MICHAEL ST~LL:~TR~ T(7
          INC ; L:} +I IN`Tf~ktif_T"~1'C~RK :^,ND                        E~TR~~ l~~ PRELI'~TI~;~RY
~3        S~'STT'~15 i1~I~~~~GLMENT, INC.                                IT~IJLTNC'TION ~1;tiD ORLIERS {1)
          aka EHI-~tiSM, T'~iG_, and ~tIlCH:1F1:                         ~"REEZIiVG ASSETS;(2}
2~        ALAN STQLLER~'ales ~VIIC~1~lL                                  PROI-~IBITL~G THE DESTRUCTIO'~
~~        STULI_A1RE,                                                    ~[t ~l..T~RAT"I~~(JF
                           Defendants.
                                                                         ~aacu~~Nrs;(3) G~r+`rr~~~
26                                                                        ~XPEDIT'ED D~SCOVER~', C~)
~a7                                                                      I2~QL~IRII~G A~`C4U:tiTII~iGS; A~+'D
                                                                         (Sj APPOINTlI`rG A PER?VIA~EI~~T
28                                                                       RECEIVER
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 2 of 22 Page ID #:1435




      1            '~JHEREAS, on May 22, 2018, Plaintiff Securities and Exchange Commi,ssi~}~~
     2 (j("SEC")filed this action against Defendants Titaniu~xl Blockchaii~ Infrastructure
     3 Services, Inc., EHI Internetwork and Systems Maz~agemez~t; Tnc. aka EHI-INSM,
                                                                                           Inc.,
     4 and ~vlichael Alan Stallery aka Michael Stollaire (collectively, "Defendants"
                                                                                     ) alleging
     5 violations of the federal. securities laws,
     6       W~TEREAS, on May ~3, X018, the Court granted die SEC's Ex Przrte
     7     Application for a Temporary Restraining Order ("TRO"} and Urders:(l)freezing
     8     Assets;(2)Prohibiting tl~e Desiructioi~ or 1~lterafao~~ of Documents;(3) Granting
     9                 Discovery;(4} Requiring Accountings; and (Sj Appointing a fiemporaryr
 l ~ Receiver; and Order To Show Cause Re Preliminary Injunction and Appointment
                                                                                 of a
 11       Permanent Receiver, and issued a TRQ that, among other things, ordered Defendant
 12 to show cause whyr a ~relir~~nary injunction Should not be granted and a perman
                                                                                    ent
 13 receiver not appointed;
 14                WHEREAS,Defendants acknowledge that t~~ey each were properly sertifed
 l5 with a copy of the Complaint, ~lae TRO,and all papers submitted by th~~SEC in
 16 support Thereof, and admit the Court's jurisdiction over them aa~d over the subject
 17       matter of this action;
 I8             WHEREAS,Defendants, without admitting or denying any alle~ataoixs of the
19 ~ Complau~i(except as to personal and subject matter jurisdiction, which Defendants
20 admit) consent to the entry of a preliminary injunction and to a continuation
                                                                                 of the
21 j orders:(1)Freezing Assets;(2)Prohibiting the or Destruction of A,ltera#ion of
zz        Documents;(3) Granting Expedited Discovery;(4) Requiring ,A,ccountings; and {5)
23 Appointing a Permanent Recei~~er ("Preliminary Injunction")in the form attache
                                                                                  d
24        hereto as E~ibit I,
25              WI~REAS,Defendants waive the entry of findings of fact aid conclusions of
26 (law pursuant to Fed. R. Civ. P. 65;
27             V         AS,Defendants enter into this Consent voluntarily and represent that
.~ ~no threats, offers, promises, or inducements of any kind have been made
                                                                            by the SEC

                                                     1
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 3 of 22 Page ID #:1436




      1    or any member, officer, employee, agent, or representative of the SEC
                                                                                         to induce tbem
      2 to enter into this Consent;
      3         ACCORDINGLY,DEFEIti?DAI~'TS CC)~SENT AND AGREE that tlae Court
     4 m ay enter a Prelim~~ary Injunc~i~ni in tl~e form attached hereto
                                                                         as Ez~hibi           t 1 ~~~hou~
     5 further notice ox hearzng.                           ~''~--__
     6                                     ~~j                         '~ _~~- .~-.~..~.._~
                                             1
     7 Dated: May 25, 2(l l S
                                             I~1GH~.EL ALAN ST()1.LERY aka
                                             MICHAEL STOLLAIR.E~~~~~--.-~-~--~~
     9                                      Pro se                                j
  10                                                                              s
                                                                                  i
                                                                                  °_~,
 11                                         TIT'     'M BL~CKC~ ~:~ 1
 12                                        '~t~I~RAS7` CT ~ SLR~'ICES,~C.
 13 Dated: May 25, 201$                               :a
                                              -                   ,
 14                                         By:Michael Alan ~tollen~ ~~~:;z :~~ichael Stollaire
                                            President and Chief Exeeuii~~e Officer
 15                                                                    r
 16
                                              1.:HI INTE~:?~~:i~'ti'~"~'~R~ ~'~?~[~ SYSTEMS
 17                                           ~~t.-~tiAGEMEti~I, i'~'t~~ . ~2k:~ ~~HI-INSM, Tnc.
 18                                        ~.                    ~. ..
          Dated: May 25, 201$                     '• _             ~
 19                                                                                j
                                              B~~: Michael flan t~ 1ery              Michael Stollaire
~~ ~                                          President                           ~`
                                                                                       ___.
2l
22 Approved as to form, and authorizing Michael Stollaire to sign for the limi ed
    purpose of entering into this Consent on behalf of defendant Titani
23 Infrastructure Services, Inc,:                                       um Blockchain

24     ,~
              ;~         _        __
25 ~Jos1 ~1~ N. L~<«~~y
26 Tempox-ary Receiver of defendant
   Titanium Blockchain Infrastructure Services, Inc.
27
28

                                                    2
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 4 of 22 Page ID #:1437




                                        PROOF 4F SERVICE
       I am over the age of 1 ~ years and nat a party to this action. a''V~y business address is:
             U.S. SECL'ItITIE~ AND EXCHANGE CO:vIMISSION,
             444 S. Flower Street, Suite 904, Los Angeles, California 90Q71
             Telephone No.(323)965-3998; Facsimile No.(213)443-1904.
      On May~ 29, 201$ I caused to be served the docu~n~nt entitled CONSENT OF
      DEFENDANTS TITANIUM ~LOCKCHAIN INFRASTRUCTURE
  6   SERVICES,INC., EHI INTERNETWORK AND SYSTEMS MANAGEMENT,
      INC,AND MICHAEL ALAN STOLLERY aka MICHAEL ST~JLLAIRE TO
  7   ENTRY OF PRELIMINARY INJUNCTION AND ORDERS(1)FREEZING
      ASSETS• (2~ )PROHIBTI'ING TFIE DESTRUCTION OR ALTERATION OF
  8   D4CUlV~ENTS; 3) GRAN~`I'.~iG EXPEDITED DISCOVERY;(4)
      REQUIRING A~COtiNTINGS; ANA (5) APPOINTING A PE~t1VIANENT
  9   RECEIVER on all the parties to this action addressed as stated on the attached
     service list:
l0    ❑      OFFICE MAIL. By placing in sealed envelope(s), which I placid for
     collection and mailing today following ordinary business practices. I am readily
1 1. familiar with this agency's practice for collection and processin~ ~ g of correspondence
     ~'or mailing;such correspondence would be deposited with the U,S. Postal Service an
12 the same day in the ordinary course of business.
13          ❑     PERSONAL DEPOSIT IN MAID By placing in sealed envelope(s),
      which T personally deposited with the U.S. Postal Service. each such enwelope was
14    deposited with the U.S. Postal Service at Los Angeles, California, with first class
      postage thereon dully prepaid.
15
             ❑     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
16    regularly maintained at the U.S. Postal Service for receipt of Express Mail at I~os
      Angeles, Caiiforriia, with Express Mail postage paid.
17
      ~      HAND DELIVERY: I caused to be hand delivered each such envelope to the
l8 office ofthe addressee as stated on the attached service list.
19 Q      UNITED PARCEL SERVICE. By placing in sealed envelape~s) designated
   by United Parcel Service ("UPS"j with delivery fees paid or provided or, which I
20 de~aosi~ed in a facility regularly maintained by UPS or delivered tc~ a UPS courier, at
      Los Angles, California.
21
      ~      ELECTRONIC MAII~: ~3y transmitting~ the document by electronic mail to
22 the electronic mail address as stated on the attached service lisi.
.23❑     E-FILIltiG: By causing the document to be electronically filed via the Court's
   CM/ECF system, which effects electronic service an craunse) who are registered wzth
~4 the CM/ECF system.
25    ❑      FAX: Sy transmitting the document by facsimile transmission. The
      transrnissian was reported as complete and without error.
26
            I declare under penalty of perjury that the foregoing is true and correct.
27
      Date: May 29,2018                               ls!David 1. Yan Havermaat
28
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 5 of 22 Page ID #:1438




 1          SEC v, Titanium Blockchain Infrastructure Services, Tnc., et al
 2           United States District Court —Central District of California
                                   V~'estern Division
 3                       Case Rio. CV 18-04315 DSF(JPRx)

 4
 5                                   SER~IC~ LIST

 6            Michael Alan Stollery aka Michael Stollaire
              Pro se
 7            15027 Dickens St. Apt. 4
              Sherman Oaks, Ct~ 41403
              (Served via Email)
 8
 9             Titanium Blockchain Infrastructure Services, Inc.
               15027 Dickens St., Apt. 4
10             Sherman (Jaks, CA 91403
               c/o Michael Stollaire
1l            (Served via Emuil,~

12             EHI Tnternetwork and Systems Management, Inc. aka EHI-IN~M,Inc.
               15027 Dickens St., Apfi. 4
13             Sherman Oaks,CA 91403
               cfo Michael Stollaire
14            (Served via Email)

15
16
17
18
19
zo
21
22
23
24
25
26
27
28
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 6 of 22 Page ID #:1439




                              1YIs,t    ~ ■~
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 7 of 22 Page ID #:1440




   DAVID J. VAN HAVERMAAT(.Cal. Bar Na. 175761)
   Email.: vanhavermaatd~u sec.gov
 2 DAVID S. BROWN (Cad. $ar No. 134569)
   Email: browndav~?a see.gav
 3
   Attorneys for Plaintiff
 4 Securities and Exchange Commission
 5 Joseph G. Sansone, Unit Chief{market Abuse Unit)
   New York Regional Office
 6 200 Vesey Street, Suite 400
   New York, New York 10281
 7
   Robert A. Cohen, Lznit Chief(Cyber Unit)
   Headquarters
   I OQ F Street, N.E.
 9 Washington, District of Columbia 20549
10 Michele Wein Layne, Regional Director
    Amy Jane Lon o, Re Tonal Taal Counsel
1 1 444 S. Flower ~treet,~uite 940
    Lis Angeles, California 90 71
1 2 Telephone:(3~,3)965-399$
    Facsimile:(213)443-1904
13
14                       UNTTED STATES DISTRICT COURT
                       CEIV'TRAL DISTRICT OF CALIFORNIA
15
16                             WESTERN DIVISIaN

17   SEGtJRTTIES AND ~XCNA~~GE              Case No. CV t 8-4315-DSF (JPR~c)
                                                                          c
IS   COMMISSIU~'~,
                                          [P'~tOPOSED] PRELIMINARY
19              Plaintiff,                 INJUNCTIOiY AND ORDERS(1)
                                           BREEZING ASSETS;(2)
20        vs.                              PRQHIBITING THE DESTRUCTION
                                           OR ALTERATION OF
21   TITANIUM BLOCKCHAIN                   DOCUMENTS;(3)GRANTING
22   INFRASTRUCTURE SERVICES,              EXPEDITEll DISCOVERY;(4)
     INC.; EHI II~I`T'~ItNETWORK AND       REQUIRING A~COUNTII~,'GS; AND
23   SYSTEMS 1VIANAGEMENT,INC.            (5) APPOINTING A PERMANENT
     aka EHI-INSM,ING; and ~YIICHAEL       RECEIVER
?4   ALAN ST~LLERY aka IVIICHAEL
     STOLLAIRE,
25
26              Defendants.

27
28
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 8 of 22 Page ID #:1441




  1          This matter is before the Court upon the Consent of Defendants Titanium
  2 Blockehain Infrastructure Services, Inc.("TBIS"), EHI Int~rnetwork and Systems
  3   Management, Tnc, aka EHI-INSM,Inc.("EHI"), and Michael Alan Stollery ak.a
 4    Michael Stollaire ("Stoilaire")(coUectively,"Defendants")to the Entry of a
  5   Preliminary Injunction and Orders ~1)freezing Assets;(2)Prohibiting the
  b   Destruction or Alteration of Documents;(3j Granting Expedited Discovery;(4)
 7 Requiring Accountings; and(5) Appointing a Permanent Receiver.
             The Court, having previously entered a Temporary restraining order and
 9 Orders(I)Freezing Assets;(~)Prohibiting the Destructian or Alteration of
10 Documents;(3) Granting Expedited Discovery;(4)Requiring Accountings; and (5)
11    Appointing a Temporary Receiver; and Order to Show Cause Re Preliminary
12 Injunction and Appointment of a Permanent Receiver on May 23, 2018("TRO")~ and
13    having considered the SEC's Complaint, Application for a Temporary Restraining
14    Order, the supporting Memorandum of Points and Authorities, the supporting
15 ~ declarations and e~ibits, and the other evidence and argument presented to the
16 Court, as well as the D~fen~ants' Consents, finds that:
17          A.    This Court has jurisdiction over the parties to, and the subject matter of,
18                phis action.
19          B.    The Defendants have consented to the entry of a preliminary injunction
20                on the terms below.
21                                              I.
22          IT iS HEREBY ORDERED that food cause exists for the entry of a
23    preliminary injunction, appointment of a permanent receiver, and the related orders
Ali herein.
25                                              II.
26          TT IS F~REBY ORDERED,ADJUDGED,AND DECREED that defendants
27 TBIS, EHI, and Stollaire are preliminarily restrained. and enjoined from violating,
28    directly or indirectly, Section 10(b)of the Exchange Act [15 U.S.C. § 7$j(b)] and

                                                     1
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 9 of 22 Page ID #:1442




 1   Rule I Ob-5 promulgated thereunder[17 C.F.R. ~ 240.~ Ob-5], by using any means or
 2 instrumentality of interstate commerce, or of the mails, or of any Facility of any
 3   national securities exchange, in connection with the purchase or sale of any security:
 4        (a)     to employ any device, scheme, or artifice to defraud;
 5        (b}     to make any untrue statement of a material fact or to omit to sate a
 6                maCerial fact necessary in order to make the statements made, in the light
 7                ofthe eircumstanc~s under which they wire made, not misleading; or
 8        (c)     to engage in any act, practice, or course of business which operates or
 9                would operate as a fraud or deceit upon any person.
10         IT IS FURTHER ORDERED,ADJUDGED, AND DECREED that, as
11   provided in Federal Rule of Ci~ril Procedure 65(d)(2), the foregoing paragraph also
12   binds the following who receive actual notice ofthis Preliminary Injunction by
13   personal service or otherwise:(a) Defendants' officers, agents, servants, employees,
14   and attorneys; and(b)other persons in active eancert or participation wig any of the
15 , Defendants or with anyone described in (a).
16                                             III.
17         IT IS H~RE~Y FURTHER ORDERED, ADJUT?GED, ADD DECREED that
18   defendants TBIS, EHI, and Stallaire are preliminarily restrained and enjoined from
19   violating Section 17(a) ofthe Securities Act [15 U.S.C. § 77q~a)] in the offer or sale
20   of any security by the use of any means or instruments of transportation or
21 ~ communication in interstate commerce or by use ofthe mails, directly or indirectly;
22        (a)    to employ any device, scheme, or artifice to defraud;
23        (b)    to obtain money or property by means of any untrue statement of a
24               material fact or any omission of a material fact necessary in order to
zs               make the statements made, in light ofthe circumstances under which
26               they were made, not misleading, or
27        (c)    to engage in any transaction, practice, or course of business which
28               operates or would operate as a fraud ar deceit upon the purchaser.

                                                 2
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 10 of 22 Page ID #:1443




 1         IT IS FURTHER ORDERED, ADJt7DGED, AND DECREED that, as
 2 provided in Federal Rule of Civil Procedure 65(d)(2j, the foregoing paragraph also
 3   binds the following who receive actual notice of this Preliminary Injunction by
 4 ~ ~ personal service or otherwise:(a)Defendants' officers, agents, servants, employees,
 5   and attorneys; and (b)other persons in active concert or participation with any of the
 6 Defendants or with anyone described in (a).
 7                                              IV.
 8         IT IS HERESY FURTHER ORDERED, ADJUDGED, AND DEGREEI~ that
 9 defendants THIS and Stollaire are preliminarily restrained and enjoined from
10 violating Section 5 ofthe Securities Act[15 t7.S.C. ~ 77eJ by, directly ar indirectly,
11   in the absence of any applicable exemption:
12        (a~    Unless a registration statement is in effect as to a security, making use of
13               any means or instruments of transportation or communication in
14               interstate commerce or of the mails to sell such security through the use
15               ar medium of any prospectus or otherwise,
16        (b)    Unless a registration statement is in effect as to a security, carrying or
17               causing to be carried through the mails or in interstate commerce, by any
18               means or instruments of transportation, any such security far the purpose
19               of sale or for delivery after sale; or
20       (c)     Making use of any means or instruments of transportation or
21               communication in interstate commerce or of the mails to offer to sell car
22               offer to buy through the use or medium of any prospectus or otherwise
23               any security, u~aless a registration statement has been filed with the
24               Commission as to such security, or while the registration statement is the
25               subject of a refusal order or stop arder or (prior to the effective date of
26               the registration statement) any public proceeding or examination under
~~               Section 8 ofthe Securities Act[15 U.S.C. § 77h].
2~        IT IS FURTHER ORDERED,ADJUDUED,AND DECREED that, as

                                                  3
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 11 of 22 Page ID #:1444




      provided in Federal Rule of Civil Procedure 65(d)(2}, the foregoing paragraph also
 2 binds the following who receive actual notice cif this Preliminary Injunction by
 3    personal service ox otherwise:(a) defendants TBIS's and Stollaire's officers, agents,
 4 servants, employees, and ~ttomeys; anc~ (b)other persons in active concert car
 5    participation with defendant IBIS ar Stollaire or with anyone described in (a).
  b                                                 V,
 7           IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,
 8    Defendants TBIS, EHI, and Stollaire be and hereby are preliminarily restrained and
 9 enj+~ined from, directly or indirectly, transferring, assigning, selling, hypothecating,
10 changing, wasting, dissipating, converting, concealing, encumbering, or otherwise
11    disposing of, in any manner, any funds, securities, claims ar ether real or personal
12 property, including any digital assets, digital currencies, virtual currencies, digital
13    tokens, cryptocurrencies, digital wallets, or other tangible, intangible, or digital
14    assets, wherever located, of any of the Defendants, or their subsidiaries or affiliates,
15    owned b}~, controlled by, managed by, or in the possession or custody of any ofthem,
16 and from transferring, encumbering, dissipating, or incurring charges or cash
17 advances on any debit or credit card or the credit arrangement of any of the
18    Defendants, or their subsidiaries and affiliates.
19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
20    provided in Federal Rule of Civil Procedure 65(d~2), the foregoing paragraph also
21    binds the following who receive actual notice of this Preliminary Injunction by
22 I personal service or otherwise: (a} Defendants' officers, agents, servants, employes,
23    and attorneys; and(b)other persons in active concert or participation with any of the
24 Defendants or with anyone described in (a).
25                                                 VI.
26          IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,
27 'the asset freeze previously ordered by the TRO shall remain in place on all monies
28    and assets, including all digital assets, digital currencies, virtual currencies, digital

                                                     4
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 12 of 22 Page ID #:1445




 1     tokens, cryptocurrencies, digital wallets, or other tangible, intangible, and digital
 2 funds or assets, wherever located (with an allowance for necessary and reasonable
 3 living expenses to be granted only upon good cause shown by application to the
 4     Court with notice to and an opportunity for the SEC to be heard) in all accounts at
 5     any bank, financial institution, brokerage firm, third-payment payment processor,
 6 coin exchange, or any other holder or custodian of any digital assets, digital
 7 currencies, virtual currencies, digital tokens, cryptocurrencies, digital wallets, or other
 8     tangible, intangible, or digital funds or assets held in the name of, for the benefit of,
 9 or over which account authority is held by defendants TBIS,EHI, andlor Stollaire,
10     including but not Iimited to the accounts listed below:
11         INSTITUTION             ACCOUNT                  ACCUUNT NO.
                                   NAME/OWNER
12
          COIN~ASE                MICHAEL STOLLE~Y Ox98935abO1caA7a162892FdF9c6423de2
13                                AKA MICHAEL ALAN 4b078a4c
                                  STOLI,AIRE         Wallet Address)
14        COINBASE                TITANIUM          OxlS18409Ff612A6d574ca979904396bB
                                  BLnCKCHAIN        4B8EA6d51
15                                INFRASTRUCTURE    [Wallet Address]
16                                SERVICES INC.
          JP MORGAN CHASE         TITANIUM                2796
17                                BLOCKCHAIN        -2722
                                  INFRASTRUCTURE                   1125
18                                SERVICES INC.             0755
                                                           :7471
19 '
          JP MORGAN CHASE         EHI INTERNETWORK        3680
20                                AND SYSTEMS             3531
                                  M~NAGEM~NT,t?~IC.         5136
21                                                         0172
                                                              1001
22                                                   -            9994
23
          JP MORGAN CHASE         MICHAEL S?OLLERY         ~                   740
24                                AKA MICHAEL ALAN
                                  STOLLAIRE
25        PayPa1                  TITANIUM                       120
                                  BLOCKCHAIN                     070
26
                                  INFRASTRUCTURE                3031
27                                SERVICES TNC.                  114
          FayPal                  EHIINTERNETWORK          ~~7714
28                                AND SYSTEMS

                                                     S
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 13 of 22 Page ID #:1446




  1        INSTITUTION            ACCOI.INT                ACCOUNT NO.
                                  14AMEIOWNEI~,
 2
                                  MANAGEMENT,II~~C.
  3        VENMQ                  MICHAEL STQLLAIR~   7949
           VEN~1C7                "1'I"I'A'~IUM     ~3~6
 4                                BLOCKCHAii~t
                                  INFRASTRUCTURE
 5
                                  SERVICES II~'C.
 6        li,S. BANf~             TITANIUM          -6688
                                  ALOCKCHAIN
 7                                IN~u~s~~xucTL~
                                  SERVICES II~iC.
 8        WELLS FARGO             MICHAEL STOLLERY           492
 9        BAI~iK                  ANDIC?R ~~A~A              636
                                  STOLL~RY                  i463
10                                                          5399
                                                           _5141
li                                                               1998
12           Any bank, financial institution, brokerage firm, third-party payment processor,

13     or coin exchange, ~r any other holder or custodian of any digital a$sets, digital

14 currencies, virtual currencies, digital tokens, cryptocurrencies, or such monies or
15     assets described above shall hold and retain within their control and prohibit the

16     withdrawal, removal, transfer or other disposal of any such funds or other assets

17 except as otherwise ordered by this Court.
18 ~                                             VII.

19           IT IS FURTHER ORDEREIj that, except as otherwise ordered by this Court,

20 each of defendants TBIS, CHI, and Stollaire be and hereby are preliminarily restrained
21     and enjoined from, directly ar indirectly: destroying, mutilating, congealing,

22 transferring, altering, or otherwise disposing of, in any manner, any documents, which
23 includes all books, records, computer programs, computer files, data objects existing
24 in any sate, computer printouts, contracts, emails, correspondence, memoranda,
25     brochures, or any other documents of any kind in their possession, custody or control,

26     however created, produced, or stored (manually, mechanically, electronically, or

27 otherwise), and any accounts, account passwords, computer passwords, device PI~s
2$ ~ and passwords, cryptographic keys, or digital wallets, pertaining in any manner to

                                                    D
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 14 of 22 Page ID #:1447




      defendants TBiS, EH1, or Stollaire.
  2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
  3 in Federal Rule of Civil Procedure b5(d){2~, the foregoing paragraph also binds the
  4 following who receive actual notice of this Preliminary Injunction by personal service
  5 or otherwise:(a)Defendants' officers, agents, servants, employees, and attorneys; and
  6 (b)other persons in active concert or participation with any of the Defendants ar with
  7 anyone described in (a).
  8                                              VIII.
  9         IT IS FURTHER ORDERED that the obligations of defendants TBIS,EHI,
 10 and Stollaire each to prepare and deliver to the SEC a detailed and complete schedule
 11   of all of their assets shalt remain. in effect. The accountings shall include all real and
 12 personal property exceeding X5,000 in value, and all bank, securities, and other
 13 accounts identified by institution, branch address, and account number, and all digital
 14 assets, digital currencies, virtual currencies, digital tokens, cryptocurrencies, digital
 15 I wallets, or other tangible, intangible, or digital funds or assets, wherever located. The
16 accountings shall include a description of the sources of all such assets. Sueh
17 accountings shall be filed with the Court and copies shall be delivered to the SEC to
18 the attention of David J. Van Havermaat, Trial Counsel no later than May 29, 2018.
      After completion of the accountings, each of the Defendants shall produce to tl~e SEC
20 at a time agreeable to the SECS all books, records and other documents supporting or
21    underlying their accounting.
22                                               IX,
23          IT IS FURTHER ORDERED that any person who receives actual notice of this
24 ~ Preliminary Injunction by personal service or otherwise, and who holds, possesses, or
25 controls assets exceeding $5,000 for the account or benefit of any of the Defendants,
26 including any digital assets, digital currencies, virtual currencies, digital tokens,
27 cryptocurrencies, digital wallets, ar other tangible, intangible, or digital assets,
28 wherever located, including any such assets held in any safe deposit box, shall within

                                                    7
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 15 of 22 Page ID #:1448




  1   5 days of receiving actual notice of xhis Preliminary Injunction provide counsel for
  2 the SEC with a written statement identifying all such assets, the value of such assets,
  3 or best approximation thereof, and any account numbers or account names in which
  4 i the assets are held.
  5                                              x.
 6          IT IS FURTHER ORDERED that the SEC may continue to conduct expedited
 7 discovery concerning Defendants, their assets and activities, as previously granted in
 S the'TRO, in lieu of the time periods, notice provisions, and other requirements of
 9 Rules 26, 30, 33, 34, 36, and 45 of the Federal Rules of Civil Procedure and the
10 corresponding Local Rules of this Court, and that discovery shall proceed as follows:
11         (A) Aursuant to Rule 30~a)of the Federal Rules of Civil Procedure, the SEC
12 may take depositiions upon oral examination on five days' notice of any such
13 deposition. Depositions may be taken Monday through Friday. As to the
14 Defendantsz and their agents, servants, promoters, employees, brokers, and associates,
15    and any person who transferred money to or received money from any accounts) at
16 any ofthe bank, financial institution, brokerage firm, third-payment payment
l7 processor, or coin exchange identified above, or any other holder or custodian of any
18 digital assets, digital currencies, virtual currencies, digital tokens, or cryptocurrencies
19 identified above, the SEC may depose such witnesses after serving a deposition
2+D   notice by facsimile, hand, or overnight courier upon such individuals, and without
~1    ser~~ing a subpoena on such witness.
22         (B) Pursuant to Rule 33(a) of the Federal Rules of Civil Procedure, each
23 Defendant shall answer the SEC's interrogatories within fourteen days of service of
24 such interrogatories upon Defendant.
~5         (C) Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, each
26 ~ Defendant shall produce all documents requested by the SEC within fourteen days of
27 service ofsuch request, with production ofthe documents made to David J. Van
28 Havermaat, U.S. Securities and Exchange Commission, Los Angeles Regional
 Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 16 of 22 Page ID #:1449




          Office, 444 S. Flower St., Suite 90~, Los Angeles, California 90071, or such person
     2 or place as counsel for the SEC may direct in writing.
     3         (D) Pursuant to Rule 36(a) of the Federal Rules of Civil Procedure, each
  d      Defendant shall respond to the SEC's requests four admissions within fourteen days of
  S      such requests;
  b            (E}    All written responses to the SEC's requests for discovery under the
  7 Federal Rules of civil Procedure shall be delivered by hand or oversight courier to
  8 the SEG to the attention of David J. Van Havermaat, U.S. Securities and Exchange
 9 Commission, Los Angeles Regional Office, 444 S. Flower St., quite 900, Los
 10 Angeles, California 90071, or such other place and person as counsel for the SEC
 1 1 ~ ~ may direct in writing, and
12             (G) All discovery requests and responses may be served via email, facsimile,
13 or by hand on counsel for the parties.
14                                                 XI.
15             IT IS FURTHER ORDERED that Josias N. Dewey is appointed as permanent
16 receiver of defendan[ IBIS and its subsidiaries and affiliates, with full powers of an
17 I equity receiver, including, but not limited to, full power over all funds, assets,
]8 ~ collateral, premises(whether owned,lased, occupied, ~r otherwise controlled),
19 choses in action, books, records, papers and other property belonging to, being
20 managed by or in the possession of or control of defendant TBIS and its subsidiaries
~~       and off Bates, and that such receiver is immediately authorized, empowered and
22 directed:
23             A.    to have access to and to collect and take custody, control, possession,
24                   and charge of all funds, assets (including any digital assets, digital
25                   currencies, virtual currencies, digital tokens of any kind,
26                   cryptocurrencies, digital wallets, or private keys associated with any of
27                   the foregoing, whether encrypted or not, or other tangible, intangible, or
28                   digital assets, wherever located), collateral, premises (whetl3er owned,

                                                     ,
                                                     ,
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 17 of 22 Page ID #:1450




     1         leased, pledged as collateral, c~ccupieci, or aCherwise controlled), chosen
 2             in action, books, records, papers, and other real or personal property,
 3             wherever located, of or managed by defendants THIS and its su~sidi~ries
               and affiliates (collectively, the "Assets"), with full power to sue,
 5             foreclose, marshal, collect, receive, and take into possession all such
 6             Assets (including access to and taking custody, control, and passessian
 7             ~f all such Assets);
 8       B.    to assume full control of defendant TBIS by removing, as the receiver
 9             deems necessary or advisable, any director, officer, attorney,
l0             i ndependent contractor, employee, or agent of any of defendant TBIS
11             and its subsidiaries and affiliates, including any named defendant, from
l2             control of, management of, or participation in, the affairs of defendant
13             TBIS;
14       C.    to have control of, and to be added as the sole authorized signatory for,
15             all accounts of the entities in receivership, including all accounts at any
16             bank, title company, escrow agent, financial institution, brokerage firm
1?            (including any futures commission merchant), or coin exchange, which
18 '           has possession, custody or control of any Assets, or which maintains
19            accounts over which defendant TBIS, and its subsidiaries and affiliates,
2d            and/or any of their employees or agents have signatory authority;
21       D.   to conduct such investigation and discovery as may be necessary to
22            locate and account for all of the assets {including any digital assets,
23            digital currencies, virtual currenciesa digital tokens, cryptocurrencies,
24            digital wallets, or other tangible, intangible, or digital assets, wherever
25            located) of or managed by defendant THIS and its subsidiaries and
26            affiliates, and to engage and employ attorneys, accountants and other
27            persons to assist in such investigation and discovery;
28       E.   to take such action as is necessary and appropriate to preserve and take

                                              10
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 18 of 22 Page ID #:1451




               control of and to prevent the dissipation, concealment, or disposition of
 2             any Assets;
 3       F.    to choose, engage, and ~mplay attorneys, accountants, appraisers, and
 4             other independent contractors and technical specialists, as the receiver
 5             deems advisable or necessary in the performance of duties and
 6             responsibilities under the authority granted by this Preliminary
 7             Injunction, including but not limited to, the law firm in which the
 8             receiver is a partner;
 9       G.    to make accountings, as soon as pz-~eticable, to this Court and the SEC of
10             the assets and financial conditions of defendant TF3IS and to fle the
11             accountings with the Court and deliver copies thereofto all parties;
12       H.   to make such payments and disbursements from the Assets taken into
13            custody, control, and possession yr thereafter received by him, and. to
14            incur, or authorize the making of, such agreements as may be necessary
l5            and advisable in discharging his duties as permanent receiver;
16       I.   to investigate ands where appropriate, to institute, pursue, and prosecute
17            alt claims and causes of action of whatever kind and nature that may
18            now or hereafter exist as a result of the activities of present or past
19            employees or agents of defendant IBIS, and its subsidiaries and
20            affiliates;
21       J.   to institute, compromise, adjust, appear in, intervene in, ar become party
2~            to such actions or proceedings in state, federal, or foreign courts, that(i)
23            the receiver deems necessary and advisable to preserve or recover any
24            Assets, or (ii) the receiver deems necessary and advisable to carry out
25            the receiver's mandate under this Preliminary Injunction; anti
26      K.    to have access to and monitor all mail, electronic mail, SMS,text, or
27            other messaging applications, and video phones of the entities in
28            receivership in order to review such mail, electronic mail, SMS,text, or

                                              11
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 19 of 22 Page ID #:1452




                    other messaging applications, and video phones which he deems relates
                    to his business and the discharging of his duties as permanent receiver.
  3
  4          IT IS FURTHER ORDERED that defendant IBIS and its subsidiaries and
  5   affiliates, including all of the other entities in receivership, and their officers, agents,
  b   servants, employees and attorneys, and any other persons wha are in custody,
  7 possession or control of any assets {including any digital assets, digital currencies,
 8    virtual currencies, digital tokens, cryptocurrencies, digital wallets, or any private keys
 9 associated with any ofthe foregoing, v~~hether encrypted or not, or other tangible,
10 intangible, or digital assets of and ofthe I~ef~ndants, wherever located), collateral,
11    book,records, papers or other property of or managed by any ofthe entities in
1~    receivership, shall forthwith give access to and control of such property to the
13    permanent receiver.
14                                               /:~fi~
15           IT IS FURTHER ORDERED that any person who receives actual notice ofthis
16 Preliminary Injunction by personal service or otherwise who holds, possesses, or
17 controls any account passwords, computer passwords, device PINS or passwords, or
18 cryptographic keys, including any such passwords or cryptographic keys held in any
19 manner in any safe deposit box or pursuant to any other bailie relationship, pertaining
20 in any manner to any assets of any of the Defendants (including any digital assets,
21    digital currencies, virtual currencies, digital tokens, cryptocurrencies, digital wallas,
22 ar other tangible, intangible, or digital assets of any ofthe Defendants, wherever
23 located), shall within 5 days of receiving actual notice of this Order provide counsel
24 for the SEC and the permanent receiver with continuing access to all such account
25    passwords, computer passwords, device PINs or passwords, and cryptographic keys,
26    which, if stored in an encrypted state, shill be provided in an unencrypted state.
27                                              XIV.
28          IT IS FURTHER QRDERED that no officer, agent, servant, employee, or

                                                    12
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 20 of 22 Page ID #:1453




 1   attorney of defendant TBIS shall fake any action or purport tU take any action, in the
 2   name ~f or an behalf ~Fdefendant TBIS without the written consent of the permanent
 3   receiver or order of this Court.
 4                                              XV.
 5         IT IS FURTHER ORDERED that, except by leave of this Court, during the
 6   pendency of this receivership, all clients, investors, trust beneficiaries, note holders,
 7   creditors, claimants, lessors, and all other persons or entities seeking relief of any
 8 kind, in law or in equity, from defendant TBIS, or its subsidiaries or affiliates, and all
 9 persons acting on behalf of any such investor, trust beneficiary, note holder, creditor,
10 claimant, lessor, consultant group, or other person, including sheriffs, marshals,
11   servants, agents, employees, and attorneys, are hereby restrained and enjoined from,
12 directly or indirectly, with respect to these persons and entities:
13         A.     commencing, prosecuting, continuing or enforcing any suit or
14                proceeding (other than the present action by the SEC or any other action
15                by the government) against any ofthem;
16         B.     using self-help or executing or issuing or causing the execution or
17                issuance of any court attachment, subpoena, replevin, execution or other
18                process for the purpose of impounding or taking possession of or
19                interfering with or creating or enforcing a lien upon any property or
20                property interests owned by or in the possession of defendant TBIS; and
21         C.    doing any act or thing whatsoever to interfere with taking control,
22               possession or management by the permanent receiver appointed
23               hereunder ofthe property and assets owned, controlled or managed by or
24               in the possession of defendant IBIS, or in any way to interfere with or
25               hazass the permanent receiver or his attorneys, accountants, employees,
26               or agents or to interfere in any manner with the discharge of the
~~               permanent receiver's duties and responsibilities hereunder.
28

                                                  13
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 21 of 22 Page ID #:1454




  1                                             XVL.
  2         IT IS FLTRTHE~ ORDERED that defendant TB~S and its suk~sidiaries,
  3 affiliates, officers, agents, servants, employees, and attorneys, shill cooperate with
  4 and assist the permanent receiver and shall take no action, directly or indirectly, to
  5   hinder, obstruct, or othet-vvise interfere with the permanent receiver or his attorneys,
 6 accountants, employees, or agents, in the conduct of the permanent receiver's duties
 7 or to interfere in any manner, directly or indirectly, with the custody, possession,
 8 management, or control by the permanent receiver ofthe funds, assets, collateral,
 9 premises, and chosen in action described above.
10                                             XVII,
11          IT IS FURTHER ORDERED that defendant TBIS, and its subsidiaries and
12 affiliates, shall pay the costs, fees and expenses ofthe permanent receiver incurred in
13 connection with the performance of his duties described in this Preliminary
14 Injunction, including the costs and expenses of those persons who may be engaged or
15 employed by the permanent receiver ~o assist him in carrying out his duties and
16 obligations. The permanent receiver's fees, including all fees and costs for the
17 permanent receiver and all others retained to assist in the administration and
18 liquidation of the receivership estate, shall not exceed $125,000 during the initial 30
19 days ofthe receivership. Further fee limitations, if any, will be set by the Court. All
20 applications for costs, fees, and expenses for services rendered an connection with the
21    receivership other than routine and necessary business expenses in conducting the
22 receivership, such as salaries, rent, and any and all other reasonable operating
23 expenses, shall be made by application setting forth in reasonable detail the nature of
24 the services and shall be heard by the Court.
25                                            XVIII.
26          YT IS FURTHER lJRDERED that no bond shall be required in connection with
27 the appointment of the permanent receiver. Except for an act of gross negligence, the
28 permanent receiver shall not be liable for any loss or damage incurred by any ofthe

                                                   14
Case 2:18-cv-04315-DSF-JPR Document 47 Filed 05/29/18 Page 22 of 22 Page ID #:1455




 1   defendants, t}aeir officers, agents, servants, employees, and attorneys or any other
 2 person, by reason of any act performed or omitted tc~ be performed by the permanent
 3   receiver in connection with the discharge of his duties and responsibilities.
 4                                              XIX.
 5         IT IS FURTHER ORDERED that representatives ofthe SEC and any other
 6 government agency are authorized to have continuing access to inspect or copy any
 7 or all of the corporate books and records and other documents of defendant TBIS, and
     the ether entities in receivership, and continuing access to inspect fiheir fiunds,
 9 propertya assets, and collateral, wherever located.
10                                              xx.
~l         tT jS FURTHER ORDERED that this Court shall retain jurisdiction aver this
12 action for the purpose of implementing end carrying out the terms of all orders and
13   decrees that may be entered herein and to entertain any suitable application ar motion
14 for additional relief within the jurisdiction of this Court.
15
16         I°I' IS SO ORDERED.
17
18 ~ Dated:               ,2018
19
20                                           HONORABLE DALE S. FISCHER
                                             UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27
28

                                                  l5
